             Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 1 of 18




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

____________________________________
                                    )
STATE OF NEW HAMPSHIRE              )
DEPARTMENT OF ENVIRONMENTAL )
SERVICES                            )
                                    )
      Plaintiff                     )
                                    )
              v.                    )                Civil No. _____________
                                    )
MCCORD CORP.,                       )
                                    )
      Defendant.                    )
____________________________________)

                                          COMPLAINT

       Plaintiff, the State of New Hampshire Department of Environmental Services

(“Department”), by and through its attorney, the New Hampshire Office of the Attorney General

(collectively, the “State of New Hampshire” or “State”), hereby files this complaint against

Defendant McCord Corporation (“McCord”) and alleges as follows:

                                  NATURE OF THE ACTION

       1.      For many years, automobile parts were manufactured at the Collins & Aikman

Plant (Former) Superfund Site located in Farmington, New Hampshire (the “Site”). Between the

1960s and 1970s, McCord operated the facility at the Site. Specifically, McCord’s manager of

safety and ecology played a key role in decisions about waste management, environmental

compliance, and plant expansion at the Site. Moreover, McCord denied and later approved the

construction of certain wastewater treatment features at the Site.

       2.      The manufacturing process and plant design at the Site caused groundwater at the

Site to be contaminated with volatile organic compounds (“VOCs”). Fireman’s Fund Ins. Co. v.

Ex-Cell-O Corp., 750 F. Supp. 1340, 1351 (E.D. Mich. 1990).
                                                 1
              Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 2 of 18




        3.      The VOCs found in the groundwater at the Site can harm human health and the

environment in a variety of different ways and are consequently designated hazardous substances

under the Comprehensive Environmental Response, Compensation, and Liability Act, as

amended (“CERCLA”).

        4.      The State brings this civil action against McCord under Sections 107 and 113 of

CERCLA, 42 U.S.C. §§ 9607 & 9613 as well as New Hampshire Revised Statutes Annotated ch.

147-A and 147-B, to recover the costs the State has incurred by responding to releases and

threatened releases of hazardous wastes and hazardous substances into the environment at or

from the Site. The State also seeks a declaratory judgment that McCord is liable for costs that

the State will continue to incur by responding to and remediating the Site.

                                         JURISDICTION

        5.      This Court has jurisdiction over the subject matter of this action and over the

parties to this action. 42 U.S.C. §§ 9607 & 9613(b); 28 U.S.C. §§ 1331, 1345, and 1367.

        6.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2) and Sections 106(a)

and 113(b) of CERCLA, 42 U.S.C. §§ 9606(a) & 9613(b), because the releases or threatened

releases of hazardous substances that gave rise to this claim occurred in this district, and because

the Site is located in this district.

                                          DEFENDANT

        7.      Defendant McCord Corporation is incorporated under Michigan law. McCord is

hereinafter referred to as “McCord Michigan” or “McCord.”

        8.      Defendant McCord is currently headquartered in Troy, Michigan.




                                                  2
             Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 3 of 18




                                STATUTORY BACKGROUND

       9.      Congress enacted CERLCA in 1980 to provide a comprehensive governmental

mechanism for remediating hazardous substances and funding such remediation and related

enforcement activities, which are known as “response actions.” 42 U.S.C. §§ 9604(a), 9601(25).

       10.     Section 107(a)(2) of CERCLA, 42 U.S.C. § 9607(a), provides in pertinent part:

               Notwithstanding any other provision or rule of law, and subject only to the
               defenses set forth in subsection (b) of this Section… (2) any person who at
               the time of disposal of any hazardous substance owned or operated any
               facility at which such hazardous substances were disposed of,…shall be
               liable for (A) all costs of removal or remedial action incurred by the
               United States Government or a State or an Indian tribe…not inconsistent
               with the National Contingency Plan.

       11.     In actions for cost recovery, Section 113(g)(2) of CERCLA requires the district

court to enter a declaratory judgment “on liability for response costs or damages that will be

binding on any subsequent action or actions to recover further response costs or damages.” 42

U.S.C. § 9613(g)(2).

       12.     New Hampshire Revised Statutes Annotated ch. 147-A, “Hazardous Waste

Management,” and ch. 147-B, “Hazardous Waste Cleanup Fund,” were both enacted in 1981.

       13.     RSA 147-A:9 provides for strict liability of:

               any owner, operator, generator, or transporter who causes or suffers the
               treatment, storage, transportation or disposal of hazardous waste in
               violation of RSA 147-A or rules adopted or permits issued under RSA
               147-A…[and] shall be strictly liable for costs directly or indirectly
               resulting from the violation relating to: (a) Containment of hazardous
               wastes; (b) Necessary cleanup and restoration of the site and the
               surrounding environment; and (c) Removal of the hazardous wastes.

       14.     RSA 147-B:10, I provides, in pertinent part, that:

               [s]ubject only to the defenses set forth in RSA 147-B:10-a and the
               exclusions and limitations set forth in RSA 147-B:10, IV and V, any
               person who: (a) Owns or operates a facility; (b) Owned or operated a
               facility at the time hazardous waste or hazardous materials were disposed

                                                 3
              Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 4 of 18




               there…shall be strictly liable for all costs incurred by the state in
               responding a release or threatened release of hazardous waste or hazardous
               material at or from the facility as specified in paragraph II.

        15.    RSA 147-B:10, II continues that:

               [c]osts recoverable by the state under paragraph I shall include all costs
               relating to: (a) Containment of the hazardous wastes or hazardous
               materials. (b) Necessary cleanup and restoration of the site and the
               surrounding environment. (c) Removal of the hazardous wastes or
               hazardous materials. (d) Such actions as may be necessary to monitor,
               assess and evaluate the release or threat of release of a hazardous waste or
               hazardous material; or to mitigate damage to the public health or welfare
               that may otherwise result from a release or threat of release.

        16.    Under CERCLA, an “owner or operator” of an onshore facility is “any person

owning or operating such facility.” 42 U.S.C. § 9601(20)(A)(ii).

        17.    The Supreme Court of the United States has explained that in the context of

CERCLA, “an operator must manage, direct, or conduct operations specifically related to

pollution, that is, operations having to do with the leakage or disposal of hazardous waste, or

decisions about compliance with environmental regulations.” United States v. Bestfoods, 524

U.S. 51, 66-67 (1998). This theory of direct liability is distinct from derivative operator liability

whereby a parent company can be liable for the actions of a subsidiary under a theory of veil

piercing. Id. at 64-65.

        18.    In Bestfoods, the Court recognized a number of circumstances in which a parent

company can be liable as an operator under CERCLA:

               [(1)] when the parent operates the facility in the stead of its subsidiary or
               alongside the subsidiary in some sort of joint venture;…[(2) when] a dual
               officer or director might depart so far from the norms of parental influence
               exercised through dual officeholding as to serve the parent, even when
               ostensibly acting on behalf of the subsidiary in operating the
               facility…[and (3) when] an agent of the parent with no hat to wear but the
               parent’s hat might manage or direct activities at the facility.

Id. at 71.

                                                  4
             Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 5 of 18




                              GENERAL ALLEGATIONS

                           Description and History of the Site

       19.     The Site includes two parcels located south of New Hampshire Route 11: (i) a

96.34-acre parcel located on Davidson Drive, identified by the Town of Farmington Tax

Assessor’s office as Map R31, Lot 34; and (ii) a 10-acre parcel located at 56 Davidson Drive,

identified by the Town of Farmington Tax Assessor’s office as Map R36, Lot 2. Collectively,

these parcels are referred to as the former Collins and Aikman Automotive Interiors, Inc.

property.

       20.     The Site also includes approximately 166 acres affected by the Site-related

groundwater contaminate plume, and extends across the north side of Route 11. The affected

area north of Route 11 is roughly bounded by NH Route 11, NH Route 53 (Main Street) to the

east, and Pokamoonshine Brook to the north/northwest.

       21.     From at least 1966 to approximately 2006, Davidson Rubber Company, Inc.

(“Davidson Rubber”) manufactured instrument panels, bumpers, fascias, and other automobile

parts at a plant located at the Site (hereinafter referred to as “the Farmington Plant”).

       22.     Manufacturing processes conducted at the Farmington Plant included

polyurethane foam molding; construction, washing, and painting of polyvinyl chloride (“PVC”)

shells, and assembly of finished parts.

       23.     Solvents used at the Farmington Plant included acetone, isopropyl alcohol,

methylene chloride, methyl isobutyl ketone, methyl ethyl ketone, tetrachloroethene (also called

perchlorethylene, or “PCE”), toluene, trichloroethene (“TCE”), and xylene.

       24.     Waste generated during manufacturing operations at the Farmington Plant,

included, without limitation, the following:

                                                  5
              Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 6 of 18




             a. Sludge from vapor degreasing process in which PCE was used to remove oil from
                metal structural inserts;

             b. Waste plastisol 1 generated from the manufacture of PVC shells;

             c. Paint waste, including toluene, xylene, and methyl ethyl ketone, generated by
                cleaning paint equipment;

             d. Soapy liquid and solid waste from washing processes;

             e. Methylene chloride used to flush urethane foam-making nozzles;

             f. Still bottoms from distilling foam and methylene chloride to reclaim methylene
                chloride;

             g. Solvent-soaked rags used to wipe off vinyl shells; and

             h. Vinyl and urethane scraps.

       25.      At various times, wastewater from the manufacturing processes at the Farmington

Plant discharged into an unnamed tributary of the Pokamoonshine Brook; over the ground at the

northern end of the Farmington Plant; into a percolating lagoon at the Plant; and into the ground

via a sewage disposal system with a leach field.

       26.      As of at least 1990, groundwater at the Site was known to contain

dichloroethylene, methylene chloride, PCE, TCE, toluene, and vinyl chloride. Fireman’s Fund,

750 F. Supp. at 1345.

       27.      Dichloroethylene is produced from the breakdown of PCE and TCE.

       28.      Investigations in the late 2010s and 2020s have demonstrated that chromium,

perfluorooctanoic acid (“PFOA”), and perfluorooctane sulfonate (“PFOS”) are also in the Site’s

groundwater.




1
 Plastisol is a liquid suspension of PVC used to manufacture automobile dashboard shells at the
Farmington Plant.
                                                   6
                Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 7 of 18




          29.    In July 2012, EPA completed a Hazard Ranking System evaluation, and with the

Department’s support, proposed the Site for inclusion on the EPA’s National Priorities List.

          30.    In 2013, EPA listed the Site on the National Priorities List.

          31.    In December 2014, EPA began a Remedial Investigation for the Site in

coordination with the Department. Ongoing Remedial Investigation activities include extensive

soil, groundwater, and surface water sampling to evaluate the contamination. Future work

involves additional data collection necessary to create a Feasibility Study to evaluate remedial

alternatives prior to the publication of a Record of Decision, and oversight work, among other

things.

                                  Corporate History of Defendant

          32.    As of at least 1964, McCord Corporation was incorporated under the laws of the

State of Maine (hereinafter, “McCord Maine”).

          33.    In 1964, McCord Maine entered into a Plan and Agreement of Reorganization

with Davidson Rubber Company, Inc., incorporated in New Hampshire.

          34.    Under that plan, McCord Maine purchased substantially all assets and assumed

substantially all of the liabilities of Davidson Rubber Company, Inc., incorporated in New

Hampshire, including the Farmington Plant.

          35.    As a result of the 1964 Plan and Agreement of Reorganization, Davidson Rubber

Company, Inc., as incorporated in New Hampshire was reorganized as Davidson Rubber, Inc.,

organized under Delaware law and is the entity referred to in Paragraph 21.

          36.    As of at least 1966, Davidson Rubber owned and operated the Farmington Plant.

          37.    Davidson Rubber’s corporate letterhead and internal memos in the early 1970s

identified “Davidson Rubber, Inc.” as a “Division of McCord.”



                                                   7
               Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 8 of 18




         38.      In 1974, Davidson Rubber sent a letter to EPA Region 1 about a pending

environmental permit on letterhead labeled, “Davidson Rubber Company Incorporated…a

Division of McCord.”

         39.      McCord Maine’s annual shareholder reports from the mid-1960s and 1970s listed

“Davidson Rubber Inc.” as a “division” of McCord Maine.

         40.      In the 1970s, Davidson Rubber was publicly held out as a division of McCord

Maine.

         41.      As of at least 1977, Ex-Cell-O Corp., a Michigan corporation (“Ex-Cell-O”),

organized XLO, Inc., also a Michigan corporation, as a wholly owned subsidiary.

         42.      Through a 1977 Agreement and Plan of Merger McCord Maine, including

Davidson Rubber, merged with and into XLO, Inc. and XLO, Inc. became the surviving entity.

         43.      In 1978, XLO, Inc. was renamed McCord Corporation. This corporation is the

same entity defined in Paragraph 7 as “McCord Michigan.”

         44.      McCord Michigan is the successor in interest to McCord Maine per the 1977

Agreement and Plan of Merger.

         45.      Starting in 1986, Ex-Cell-O was liquidated, and its subsidiary McCord Michigan

(including Davidson Rubber), and other assets and liabilities of Ex-Cell-O, were transferred to

other entities.

         46.      In 1987, Davidson Rubber was renamed Davidson Textron, Inc., which was later

renamed Textron Automotive Interiors, Inc. in 1995.

         47.      In 2001, Collins and Aikman Products Company purchased Textron Automotive

Interiors, Inc., which was renamed Collins and Aikman Automotive Interiors, Inc.




                                                  8
               Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 9 of 18




         48.    In 2005, Collins and Aikman Corporation filed for bankruptcy for itself and its

subsidiary companies, including Collins and Aikman Automotive Interiors, Inc.

 McCord’s Operations and Decisions Regarding Waste Handling at the Farmington Plant

         49.    As of 1964, Mr. Robert Birch (“Birch”) was an assistant chief engineer at

Davidson Rubber.

         50.    In 1971, Birch became the manager of safety and ecology for McCord Maine.

         51.    As the manager of safety and ecology for McCord Maine, Birch worked with

McCord’s “divisions on ways to reduce or eliminate any air, water[,] or noise pollution that

McCord manufacturing plants may generate.”

         52.    As of at least 1971, Birch worked out of McCord Maine’s headquarters in Detroit,

Michigan.

         53.    In July 1971, the average daily flow of effluent from the Farmington Plant was

approximately 60,000 gallons.

         54.    By at least December 1971, effluent from plant operations drained into a culvert

beginning at a parking lot at the southern end of the Farmington Plant, which drained into an

unnamed tributary of the Pokamoonshine Brook. This culvert is identified as the South Storm

Sewer on Figure 1.

         55.    In November 1971, after reviewing Farmington Plant data, Birch directed five

actions that “should be done on a crash basis” to address the effluent draining into

Pokamoonshine Brook.

         56.    Four of the actions as directed by Birch were implemented at the Farmington

Plant.




                                                 9
             Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 10 of 18




       57.     The fifth action directed by Birch as referenced in Paragraph 55 was not

implemented after determining that it was infeasible.

       58.     By at least 1971, Birch and certain managers of Davidson Rubber expressed

concern that polluted runoff from the South Storm Sewer at the Farmington Plant into

Pokamoonshine Brook could create a potential problem for Davidson Rubber and the

Farmington Plant from both a legal and community relations standpoint.

       59.     In 1971, Birch suggested investigating whether a retention lagoon could treat the

runoff from the Farmington Plant.

       60.     In 1972, Birch reviewed and commented on a proposal submitted by Davidson

Rubber’s environmental consultant to address runoff from the Farmington Plant.

       61.     As of at least May 1973, officials from the Town of Farmington and Farmington

Village Precinct reported discolored water exiting from the Farmington Plant.

       62.     On information and belief, in May 1973, to avoid the discharge of “illegal waste

water” into Pokamoonshine Brook, Davidson Rubber requested an appropriation from McCord

Maine to redirect the wastewater on the northern end of the Farmington Plant.

       63.     Wastewater on the northern end of the Farmington Plant was redirected to the

North Storm Sewer shown on Figure 1.

       64.     The redirected wastewater described in Paragraph 62 was described as

“unsightly,” “malodorous,” and an “attractive nuisance.”

       65.     In July 1973, Birch issued a memorandum to all McCord facilities, including the

Farmington Plant, directing certain operational changes to help ensure timely compliance with

the newly elected federal Water Pollution Control Act, passed in October of 1972 (otherwise

known as the Clean Water Act).



                                               10
               Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 11 of 18




         66.     In August 1973, Davidson Rubber sent an appropriations request to McCord

Maine to complete an engineering study to build a wastewater treatment facility, with an

alternatives analysis, to address water pollution concerns at the Farmington Plant.

         67.     McCord Maine deferred Davidson Rubber’s 1973 appropriations request for the

engineering study to build a wastewater treatment facility at the Farmington Plant.

         68.     In or about April 1974, Birch inspected the Farmington Plant and its continued

water pollution discharge from the North Storm Sewer outfall.

         69.     In an April 17, 1974 memo, entitled “Farmington Water Problem,” and labeled

“McCord Intra-Company Correspondence,” Birch wrote:

                 This water is impounded briefly, where suspended PVA 2 agglomerates
                 and floats to the surface, creating a foul waste with very poor visual
                 characteristics, being milky in appearance and leaving any grass and
                 shrubbery in its path blackened and dead.
                 …
                 The community problems that would be raised by general knowledge of
                 such a waste stream and the concomitant poor publicity resulting certainly
                 behoove us to take immediate action to control this condition…. We are
                 and have been in violation of the law by not applying for an EPA
                 Discharge Permit for this waste.

         70.     In the April 17, 1974 memo referenced in Paragraph 69, Birch made several

recommendations to address the water pollution problem at the Farmington Plant, including

seeking an appropriations request for water conservation studies. Birch stated that he would “see

that [the appropriation request] does not get hung up in Detroit,” the location of McCord Maine’s

headquarters.

         71.     In May 1974, Davidson Rubber submitted an appropriations request to McCord

Maine that included a proposal to evaluate different alternatives for addressing wastewater at the

Farmington Plant.


2
    Polyvinyl alcohol, also known as PVA, was used at the Farmington Plant.
                                                 11
              Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 12 of 18




        72.       In a memorandum discussing the May 1974 appropriations request, a Davidson

Rubber employee wrote that “[t]his program has been reviewed with Dick Birch on two

occasions this past year and had his endorsement as indicated in his correspondence of 4-17-74.”

        73.       In June 1974, Birch received copies of wastewater treatment study schedules to

implement his proposed course of action to address the wastewater discharge problem from the

North Storm Sewer at the Farmington Plant.

        74.       On July 26, 1974, Davidson Rubber’s consultant finalized a Preliminary

Engineering Report, summarizing its analysis of alternatives for addressing the wastewater

discharge from the North Storm Sewer.

        75.       The July 26, 1974 report referenced in Paragraph 74, which included a lagoon

system to percolate contaminated wastewater into the ground, noted the lagoon system was more

cost-effective than the other options analyzed, but could cause groundwater contamination.

        76.       On August 14, 1974, a Plant manager submitted an appropriations request and

accompanying memorandum to build the lagoon system.

        77.       By 1975, the lagoon system was built, and North Storm Sewer outlet effluent

rerouted to it.

        78.       On information and belief, McCord Maine approved the appropriations request to

construct the lagoon system at the Farmington Plant.

        79.       Memos regarding concerns about water pollution from the Farmington Plant were

on letterhead that described Davidson Rubber as a “division of McCord [Maine].”

        80.       In February 1974, Birch directly communicated by telephone with EPA to request

reduced sampling requirements under Davidson Rubber’s 1974 permit application to discharge




                                                 12
             Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 13 of 18




runoff from the Farmington Plant to Pokamoonshine Brook under the National Pollutant

Discharge Elimination System (“NPDES”).

       81.     Birch received copies of water quality monitoring reports sent by the Farmington

Plant to EPA in accordance with the Farmington Plant’s NPDES Permit.

       82.     In 1977, Birch directly managed the expansion of the Plant’s main building,

including the construction of a sewage waste disposal system with a leach field for the expanded

building.

       83.     The Remedial Investigation for the Site identified septic leach fields as a source

of contamination on the Site.

                                      Insurance Litigation

       84.     In or about 1985, Ex-Cell-O, McCord Michigan, and Davidson Rubber

(collectively, the “Policyholders”) sought a declaratory judgment against various insurance

carriers regarding coverage for environmental contamination at the Farmington Plant and at other

facilities. Fireman’s Fund Ins. Co. v. Ex-Cell-O Corp., 750 F. Supp. 1340 (E.D. Mich. 1990).

       85.     The insurance policies at issue in the Fireman’s Fund litigation were issued to

McCord and named Davidson Rubber as an additional named insured. Fireman’s Fund Ins., 750

F. Supp. at 1344.

       86.     The insurance policies at issue in the Fireman’s Fund litigation obligated the

insurance carriers to indemnify the Policyholders for property damage caused by an occurrence,

which was defined in the policies as an “accident, including continuous or repeated exposure to

conditions, which results, during the policy period, in…property damage neither expected nor

intended from the standpoint of the insured….” Id. at 1345 (ellipses in original).




                                                13
             Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 14 of 18




       87.     In holding that the insurance carriers were not obligated to indemnify the

Policyholders, the district court found:

               The design and operation of the Farmington Plant facilitated disposal of
               hazardous liquid waste directly into the environment. Davidson [Rubber]
               made various modifications to its operation over the years., Initially,
               waste water was discharged into the Pokamoonshine Brook tributary, then
               onto the north end of the [Farmington Plant], and later into the lagoon
               system. Consistent, however, throughout these changes was
               [P]olicyholders’ direct discharge of contaminants into the environment.

Fireman’s Fund Ins., 750 F. Supp. at 1345.

                                  SPECIFIC ALLEGATIONS

       88.     McCord Maine was a “person” as defined by CERCLA. 42 U.S.C. § 9601(21).

       89.     McCord Maine was a “person” as defined by N.H. RSA 147-A:2, XII and N.H.

RSA 147-B:2, IX.

       90.     McCord Michigan is a “person” as defined by CERCLA. 42 U.S.C. § 9601(21).

       91.     McCord Michigan is a “person” as defined by N.H. RSA 147-A:2, XII and N.H.

RSA 147-B:2, IX.

       92.     McCord Maine operated Davidson Rubber as a division of McCord Maine.

       93.     McCord Maine managed, directed, or conducted operations related to the leakage

or disposal of hazardous substances, hazardous wastes, and/or hazardous materials at the

Farmington Plant.

       94.     McCord Maine made decisions about waste disposal and compliance with

environmental regulations at the Farmington Plant.

       95.     McCord Maine operated the Farmington Plant.

       96.     McCord Maine operated the Farmington Plant at the time of disposal of hazardous

substances, hazardous wastes, and/or hazardous materials at the Farmington Plant.



                                               14
              Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 15 of 18




       97.      McCord Michigan is the successor-in-interest to McCord Maine for McCord

Maine’s CERCLA, N.H. RSA 147-A, and N.H. RSA 147-B liabilities associated with the

Farmington Plant.

       98.      The Farmington Plant is a “facility” as defined by CERCLA. 42 U.S.C. §

9601(9).

       99.      The Farmington Plant is a “facility” as defined by N.H. RSA 147-A:2, IV and

RSA 147-B:2, III.

       100.     Among other chemicals, PCE, TCE, dichloroethylene, toluene, and methylene

chloride were disposed of at the Farmington Plant at least between 1966 and 1977.

       101.     PCE, TCE, dichloroethylene, toluene, and methylene chloride are “hazardous

substances” and “hazardous wastes” as defined by CERCLA and N.H. RSA 147-A and N.H.

RSA 147-B and administrative rules. 42 U.S.C. § 9601(14); 40 C.F.R. § 302.4; N.H. RSA 147-

A:2, VII; and N.H. RSA 147-B:2, VII.

       102.     The State of New Hampshire Department of Environmental Services has incurred

at least $166,000 in response costs at the Site that have not been reimbursed.

       103.     The unreimbursed response costs referenced in Paragraph 102 are not inconsistent

with the National Contingency Plan promulgated under CERCLA Section 105, 42 U.S.C. §

9605, and codified at 40 C.F.R. Part 300.

                                      CLAIM FOR RELIEF

    Cost Recovery under CERCLA Section 107, N.H. RSA 147-A, and N.H. RSA 147-B

       104.     The State re-alleges paragraphs 1-103 above as if fully set forth herein.

       105.     McCord Michigan is a person, or a successor-in-interest toa person, who at the

time of disposal of hazardous substances and/or hazardous wastes operated the Farmington Plant,



                                                 15
                Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 16 of 18




which is a facility from which there was a release or threatened release of hazardous

substances/hazardous wastes.

         106.     In response to the release or threatened release of hazardous substances and/or

hazardous wastes, the State of New Hampshire Department of Environmental Services has

incurred costs that are not inconsistent with the National Contingency Plan promulgated under

CERCLA Section 105, 42 U.S.C. § 9605, and codified at 40 C.F.R. Part 300. The State expects

that it will incur additional response costs in connection with the Farmington Plant.

         107.     Under Section 107(a)(2), N.H. RSA 147-A:9, and N.H. RSA 147-B:10, I-II,

McCord Michigan is jointly and strictly liable to the State for all costs incurred and to be

incurred by the State in connection with the Site, including enforcement costs and interest on all

costs.

         108.     In accordance with Section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2), and

pursuant to N.H. RSA 147-A and N.H. RSA 147-B, the State is entitled to declaratory judgment

that McCord Michigan is jointly and severally liable to the State for future response costs to be

incurred by the State in connection with the Site.

                                       RELIEF REQUESTED

         Wherefore, Plaintiff, the State of New Hampshire, respectfully requests that the Court

grant the following relief:

         A.        Enter judgment in favor of the State holding Defendant jointly and severally

                   liable under Section 107(a)(2) of CERCLA, 42 U.S.C. § 9607(a)(2), N.H. RSA

                   147-A:9, and N.H. RSA 147-B:10, I-II, for unreimbursed response costs incurred

                   by the State relating to the Site, including enforcement costs and prejudgment

                   interest;



                                                  16
           Case 1:22-cv-00317 Document 1 Filed 08/12/22 Page 17 of 18




      B.      Enter a declaratory judgment on Defendant’s liability that will be binding on any

              subsequent action for further response costs, pursuant to Section 113(g)(2) of

              CERCLA, 42 U.S.C. § 9613(g)(2), N.H. RSA 147-A, and N.H. RSA 147-B; and

      C.      Grant such other relief as the Court deems just and proper.



                                                  Respectfully submitted,


                                                  STATE OF NEW HAMPSHIRE
                                                  DEPARTMENT OF ENVIRONMENTAL
                                                  SERVICES

                                                  By and through its attorney,

                                                  JOHN M. FORMELLA
                                                  ATTORNEY GENERAL


DATE: August 12, 2022____                         /s/ Joshua Harrison____________________
                                                  Joshua C. Harrison, Bar #269564
                                                  Assistant Attorney General
                                                  Environmental Protection Bureau
                                                  Office of the Attorney General
                                                  New Hampshire Department of Justice
                                                  33 Capitol Street
                                                  Concord, New Hampshire 03301-6397
                                                  Joshua.C.Harrison@doj.nh.gov
                                                  (603) 271-3679




                                             17
                                                                                                                                                         Case 1:22-cv-00317
                                                                                                                                                              1:22-cv-00289 Document 1 Filed 08/12/22
                                                                                                                                                                                             08/02/22 Page 18 of 18
c 2022 SANBORN, HEAD & ASSOCIATES, INC.
                                                                                                                                                                                                                                                                                                            Figure 1
                                                                                                                                                                                                    To Pokamoonshine
                                                                                                                                                                                                               Brook
                                                                                                                                                                                                                                                                                          Collins & Aikman (Former)
                                                                                                                                                                                                                                                                                                   Plant Site




                                                                                                                                                                                                                                                                                                 Farmington, New Hampshire
                                                                                                                                                                                                                                                                                                       Drawn By:     E. Wright
                                                                                                                                                                                                                                                                                                     Designed By:    S. Nerney
                                                                                                                                                                                                                                                                                                     Reviewed By:    C. Crocetti
                                                                                                                                                                                                                                                                                                       Project No:   3856.10
                                                                                                                                                                                                                                                                                                            Date:    January 2022

                                                                                                                                                                                                                                                                                       Figure Narrative
                                                                                                                                                                                                                                                                                       This Figure is derived from Figure 1.1 of the Work
                                                                                                                                           North Storm                                                                                                                                 Scope for Phase 3 RI Activities for the Collins &
                                                                                                                                             Sewer                                                                                                                                     Aikman (Former) Plant Site, available at
                                                                                                                                                                                                                                                                                       https://semspub.epa.gov/work/01/100010557.pdf.




                                                                                                                                    1977



                                                                                                                                                                                         He
                                                                                                                                                                                            nry
                                                                                                                                                                                                Wi
                                                                                                                                                                                                   lso
                                                                                                                                                                                                      nH
                                                                                                                 Northwest Septic                                                                          igh
                                                                                                                                                                                                              wa
                                                                                                               System Leachfields                                                                                  y(
                                                                                                                                                                                                                     Ro
                                                                                                                                                                                                                        u   te
                                                                                                                                                                                                                               11
                                                                                                                                                                                                                                 )




                                                                                                                                                                                                                            Unnamed
                                                                                                                                                                                                South Storm                   Tributary
                                                                                                                                                                                                  Sewer                                                           Da
                                                                                                                                                                                                                                                                     vid
                                                                                                                                                                                                                                                                         so
                                                                                                                                                                                                                                                                           nD
                                                                                                                                                                                                                                                          X                     rive
                File:P:\3800s\3856.00\Graphics Files\CAD\SourceAreaPlanUpdate_Request.dwg Plot Date: 1-11-22




                                                                                                                                                                                                                                                                   X



                                                                                                                                                                                                                                                      X
                                                                                                                                                                                                                                                                            X



                                                                                                                                                                                                                                                              X




                                                                                                                                                                                                                                                                        X
                                                                                                                                                                                                                                               Infiltration
                                                                                                                                                                                                                                          Basins/Lagoon
                                                                                                                                                                                                                                                  System
                                                                                                                                                                                                                                                                                                                                        Feet
                                                                                                                                                                                                                                                                                               90'    45'   0           90'         180'




                                                                                                                                                                                                                                                                                       SANBOR N                               HEAD
